                      Case 20-10134-JTD         Doc 3     Filed 01/23/20      Page 1 of 18




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF' DELAWARE

In re:                                                        Chapter I I

SFP     FRANCHISE CORPORATION, et al.,t                       Case   No. 20-10134   (    )

                               Debtors.                       (Joint Administration Requested)



                DECLARATION OF CRAIG M. BOUCHER IN SUPPORT OF THE
               DERTORS' CHAPTER 11 PETITIO NS AND F'IRST DAY PLEADINGS

                      I, Craig M. Boucher, hereby declare as follows:

            1.        I    am the Co-Chief Restructuring Officer     of SFP Franchise Corporation       ("SFP

Mchise")           and its affiliated debtor Schurman Fine Papers ("S-EB" and together with SFP

Franchise,        the "Company" or the "Debtors"), as debtors-in-possession. Along with my

colleagues at Mackinac Partners,          I started providing financial advisory services to the Company

in Novemb er 2019 and joined its management team as Co-Chief Restructuring Officer in January

2020. In these capacities, I have become and am familiar with the Debtor's businesses, day-to-

day operations and financial affairs.

            2.        On the date hereof (the "Petition Date"), the Debtors filed voluntary petitions for

relief under chapter 11 (the "Chapter 1l Cases") of title 11 of the United States Code, 11 U.S.C.

$$ 101,       et seq. (as amended or modif,red,         the                             in the United States
Bankruptcy Court for the District of Delaware (the "Çggrt") and filed various motions described

herein requesting certain relief in connection with the Chapter I           I Cases (collectively,   the "First

Day Pleadings"). I submit this declaration (the "Declaration") in support of the Debtors' Chapter



I The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's   federal tax
identification number, are: SFP Franchise Corporation (62aÐ; and Schurman Fine Papers (1409). The
location of the Debtors' principal place of business is 300 Oak Bluff Lane, Goodlettsville, Tennessee
37072.



{   1270.001-W00s9686.6}
                      Case 20-10134-JTD             Doc 3        Filed 01/23/20          Page 2 of 18




1l    Cases and the First Day Pleadings.

           3.        Except as otherwise indicated herein, all statements set forth in this Declaration

are based upon (a) my personal knowledge gained in my capacity as an offtcer of the Company,

(b) information supplied           to me by    employees under              my supervision or members of              the

Company's management team, (c) my review of relevant documents, and/or (d)                              *y     experience

and knowledge of the Company's operations and financial affairs.                            I   am authorized by the

Debtors to submit this Declaration and,             if called upon to testiff, I could and would testifu to the

facts set forth herein.

            4.       Part   I of this Declaration   describes the Debtors' businesses, Part            II    describes the

circumstances giving rise to the commencement of these Chapter I                     I   Cases, Part   III   describes the

Debtors' proposed course for these Chapter 11 Cases, and Part                       IV     sets forth certain facts in

support of the First Day Pleadings.

                                                            I.

                              OVERVIEW OF'THE D F],RTORS' RI]SINESSRS

Business Operations

            A.       Origin and Historical Operations

            5.       Schurman Retail Group was founded             in   1950 as an importer and wholesaler         of fine

greeting cards and stationery. The company was founded on the principle that there w¿ìs a distinct

market in the United States for greeting cards and stationery that intersected with the world of fine

art. F-rom that guiding principle, the company grew over the years through wholesale, franchise, retail

and on line channels. The first Papyrus store was opened                n   1973 in Berkeley, Califomia. Today, the

company operates Papyrus, Paper Destiny and American Greetings/Carlton Cards retail stores.

            6.       Between 1950 and 2009, the Company steadily grew from a wholesale greeting

card and stationery business to a full-fledged retail concern. Beginning in the early 1980's, the


{   1270.001-w00s9686.6)                                2
                       Case 20-10134-JTD        Doc 3    Filed 01/23/20    Page 3 of 18




Company's leadership transitioned from the original founders to their daughter and current chief

executive offrcer, Dominique Schurman. During that time, the Company expanded rapidly,

founding SFP Franchise Corporation for the purpose of franchising the Papyrus brand retail

operation and augmenting the Company's wholesale distribution channels.

             7.       The Company's rapid expansion, including the re-purchase of franchises, led to a

period of over-leverage during the 2008-2009 financial crisis that resulted in financial and

operational distress for the Company. During that time, the Company sought a strategic and/or

financial partner to effectuate a restructuring.

             8.       In April 2009, the Company entered into a transaction with American Greetings

Corporation and             its affiliates ("American Greetings") that fundamentally     transformed the

Company's business. Under a Purchase and Sale Agreement dated                 April   17, 2009 (the "Sale

Agreement"), the Company sold its wholesale business and the Papyrus brand and related

trademarks to American Greetings. At the same time, the Company acquired the retail business

previously operated by American Greetings in Canada and the United States. As a result of this

transformation, the Company became the retail operator of over 500 stores in both the United

States and Canada.

             9.        In conjunction with the Sale Agreement, the Debtors and American Greetings

enteredintoseveralancillaryagreements(collectively,the..'',
including:

             a.        A Supply Agreement dated April 17, 2009 (the "Supply Agreement") under
                       which American Greetings is the predominant supplier of products sold by the
                       Debtors in their retail stores, for an initial term of 7 years.

             b.        'l-he Amended and Restated Trademark License Agreement made as        of April   17,
                       2009 (as amended, the "Trademark Agreement") for an initial period of 10 years
                       under which American Greetings and its affiliates agreed to provide a royalty-free
                       license to the Debtors for the trademarks (including the Papyrus mark) under
                       which the Debtors' stores operate and that are featured on most of its products


{ 1270.001   -w00s9686.6}                           J
                       Case 20-10134-JTD        Doc 3    Filed 01/23/20     Page 4 of 18




                      (the "Trademarks").

             c        The Marketing Services Agreement between American Greetings and the Debtors
                      (asamended,the..@,')underwhichtheDebtorsagreedto
                      provide American Greetings with certain marketing services in exchange for        a
                      monthly seryice fee, with an initial term of 7 years.

             d.       The POS Data Services Agreement between American Greetings and the Debtors
                      (as amended, the "EQS-ASIçç!0en1") under which the Debtors agreed to collect
                      and provide point-of-sale data to American Greetings in exchange for a monthly
                      service fee, with an initial term of 7 years.

             10.      As a result of these agreements, the Company became increasingly integrated with and

highly dependent on American Greetings. úr particular, the Company relied on American Greetings for

significant portions of the goods it sold under the Papyrus and Cørlton Cards / Cqrtes Carlton names and

for the trademarks it required to operate its business under the Papyrus and Carlton Cards        / Cortes
Carltonn¿rmes.

    B.            Current Business Operations

             1   1.   As of the Petition Date, the Company owns and operates 254 retail stores in the

United States and Canada and is headquartered in Goodlettsville, Tennessee.

             12.       The Debtors own and operate 178 retail stores in twenty-seven (27) states and the

District of Columbia (Arizon4 California, Colorado, Connecticut, FloridE Georgi4 Hawaii, illinois,

Indiana Massachusetts, Maryland, Maine, Michigan, Minnesota" Missouri, North Carolin4 New

Hampshire, Nevada" New Jersey, New York, Ohio, Oregon, Pennsylvani4 'Iexas, Utatr,           Virginiq and

Washington) as depicted below.




{ 1270.001   -w00s9686.6}                           4
                         Case 20-10134-JTD           Doc 3    Filed 01/23/20   Page 5 of 18




                                              Ifrl




                                            " o**o
                                                     L)


             13.      The Debtors' Canadian subsidiary, SFP Canada" Ltd. ('SEP Canada'), also owns and

operate seventy-six         (76) retail stores in eight (8) provinces in Canada (Alberta, British Columbia,

Manitoba, Newfoundland, Nova Scotia, Ontario, Quebec, and Saskatchewan) as depicted below.


                 Yukon




                                                                úq                         Newfoundlând
                                                                                           and Lâbrâdor


        f
                                                                                       J




             14.       The Company operates retail locations under four (4) brands: Papyrus, American

Greetings, Carlton Card and Paper Destiny. The Trademarks used in the Papyrus, American

Greetings and Carlton Card retail locations were licensed from American Greetings pursuant to

the Trademark Agreement. The Debtors own four of their own brands: Paper Destiny, Marcel

Schurman,         NIQUEA.D and XOXO, Dominique.


{ 1270.001   -w00s9686.6}                                 5
                     Case 20-10134-JTD        Doc 3    Filed 01/23/20    Page 6 of 18




             15.      The Company's Papyrus retail locations are leaders in delivering consumers

carefully curated greeting cards, stationery and gifts, among other items, which are all curated to

reflect the Company's roots and passion for fine art and commitment to only the finest quality

materials. The Company's Paper Destiny retail locations offer consumers greeting                catds,

stationery and        gifts. The Company's American Greetings and Carlton Cards retail locations

feature an extensive collection        of high-quality products available at an attractive value for
consumers. The Company also has the Niquea.D brand, featuring fashion focused on timeless

glamour and imagination with influences from the past. The Company no longer has any stand-

alone Niquea.D retail locations, but items from the brand (as well as Marcel Schurman and

XOXO, Dominique) are available online and in the Company's other retail locations. The

Debtors also operate an e-commerce platform based from their                                  website

https //www.papyrusonline. com/.
         :




             16.     As of the Petition Date, the Debtors have approximately 1,100 salaried and hourly

employees (in the U.S.), the vast majority of whom work in the Company's retail locations and

are employed by, and on the payroll of, debtor Schurman Fine Papers. The Company has no

unionized employees and is not party to any collective bargaining agreements. On a consolidated



{   1270.001-w00s9686.6}                          6
                      Case 20-10134-JTD       Doc 3       Filed 01/23/20    Page 7 of 18




basis, the Debtors reported $157.5 million in revenues for fiscal year 2019 and generated    EBITDA of

$700,000 for that same period.

Corporate Structure

            17.      The Company's organizational structure as of the Petition Date is set forth on

Exhibit A attached hereto (the "Organizational Chafi").            SÞ-P   is the Debtors' main operating

entity, employing and paying substantially all of the Debtors' employees, contracting with

vendors and operating the Debtor's retail locations and online retail portals. SFP Franchise and

SFP Canada are wholly owned affiliates of SFP.

Capital Structure

            18.       As of the Petition Date, the Debtors have    assets totaling approximately $39.4

million and consolidated outstanding liabilities totaling approximately $54.9 million, consisting

primarily of secured and unsecured obligations described fuither below.

            Secured Debt

            19.      Pursuant to the First Amended    &   Restated Loan and Security Agreement, dated

April 17, 2009, by and among the Debtors, Wells Fargo Bank, National Association, in                  its

capacities as administrative agent and collateral agent (in such capacities, "Senior Agent"), and

the lenders party thereto (the "&giqr. I_ender!") (as amended from time to time prior to the

Petition Date, collectively, the "senior Loan     Agreem "), the Senior Agent and Senior Lenders
provided a revolving credit facility in the maximum principal amount of $35,000,000 to the

Debtors. As of the Petition Date, the Debtors are indebted and liable to the Senior Agent and

Senior Lenders under the Senior Loan Documents in an aggregate principal amount not less than

56,675,159.85, consisting        of   Advances (as def,rned    in the Senior Loan Agreement) in      the

aggregate principal amount of $6,625,159.85 and Letters of Credit (as defined in the Senior Loan




{l   270.001-w00s9686.6}                         7
                     Case 20-10134-JTD         Doc 3     Filed 01/23/20     Page 8 of 18




Agreement) in the aggregate undrawn face amount of $50,000.00, plus all interest accrued and

accruing thereon, together with all costs, fees, expenses (including attorneys' fees and legal

expenses) and all other Obligations (as defined in the Senior Loan Agreement) accrued, accruing

or chargeable in respect thereof or in addition thereto (collectively, the "Senlo!-Btepeliligg

Obligations"). Pursuant to the Senior Loan Agreement and other Senior Loan Documents, each

Debtor granted senior liens upon and security interests in substantially all of such Debtor's assets

(collectively, the "senior Prepetition Collateral") to the Senior Agent for the benefit of itself and

the Senior Lenders as security for the Obligations (as defined in the Senior Loan Agreement)

(collectively, the "Senior Prepetition Liens").

            20.      In addition to the Senior Prepetition Collateral, the Senior Agent is the beneficiary

under that certain Letter        of Credit No. 12500046-00-000 in the face amount of         $10,000,000

issued by PNC Bank, National Association on behalf of the American Greetings Corporation,

which Letter of Credit is governed by that certain Limited Guaranty, dated as of April 11,2009

(as amended from time to time prior to the Petition Date), made by American Greetings in favor

of the Senior Agent.

            21.       On June 25,2019, the Debtors, SFP Canada and American Greetings entered into

a Security Agreement (the "Junior Security Agreement") pursuant to which the Debtors and SFP

Canada granted a security interest over their present and after-acquired property to secure the

obligations owing under the Supply Agreement, the Trademark License Agreement, the POS

Data Services Agreement, the Marketing Services Agreement, the American Greetings

Guarantee, and any other documents, purchase orders, or other agreements between the Debtors

and American Greetings, all subject to the Subordination Agreement (as defined below). As               of

the Petition Date, the Debtors owe not less than 938,706,673.00 for amounts that have accrued




{   1270.001-w00s9686.6}                           I
                       Case 20-10134-JTD         Doc 3      Filed 01/23/20       Page 9 of 18




under the American Greetings Agreements'
                                                                                      Limited and
            22.       The Senior Agent and (i) American Greetings, (ii) Cartton Cards

(iii) Papyrus-Recycled Greetings Canada Ltd. are parties to that certain Subordination
                                                                                                          and


Intercreditor Agreement dated as of June 25,2019 (as amended
                                                             from time to time prior to the

                                                                               Agreement'
Petition Date, collectively, the "subordination Agreement"). The Subordination

¿ìmong other things,          (A) confirms the senior priority of the security interests of the Senior Agent
                                                                               of American Greetings
in the Senior prepetition Collateral to the junior priority security interests
                                                                                    granted by the
in the Senior prepetition Collateral, which junior priority security interests were

Debtors to American Greetings pursuant to the terms and conditions
                                                                   of the Junior Security

Agreement, (B) provides that American Greetings shall be deemed
                                                                to have consented to the use

                                                                                    use of
of cash collateral by the Debtors upon notice of the Senior Agent's consent to such
                                                                                                          cash


                                                                         the Senior Agent, on the
collateral and (C) provides certain other rights and obligations between

one hand, and American Greetings, on the other hand, relating to the senior
                                                                            Prepetition


 Collateral.

              Unsecured Debt

              23.       As of the petition Date, the Debtors estimate that their unsecured debt aggregates

 approximately $8 million, consisting primarily of trade related debt.

              Equíty

              24.       As set forth on the Organizational Chart, Schurman Fine Papers directly owns

 both SFp Franchise Corp. and SFP Canada,               Ltd.   SF-P   is privately held and has three (3) known

                                          of which is      owned   by the Debtors' chief executive      officer,
 equity holders, the majority

 Dominique Schurman.




  {   1270.00r -w00s968ó.6}                            9
                     Case 20-10134-JTD       Doc 3      Filed 01/23/20   Page 10 of 18




                                                      II.
                           EVENTS LEADING TO                CHAPTER 11 CASES

            25.      In addition to the general downturn in the brick-and-mortar retail industry, the

Debtors have suffered an erosion in their profitability due to unique operational and performance

issues including (a) the capital costs incurred in refurbishing or closing a large number of old and

underperforming stores acquired         in 2009; (b) the renegotiation of certain agreements which

reduced the fees payable to the Debtors under those agreements; and (c) increased cost of

products and pricing issues for products in both the United States and Canada that resulted in a

decline in revenues.

            26.      Over the past twenty-four months, the Debtors have taken a number of steps to

attempt to address the operational and liquidity issues they have faced, including negotiating

with vendors to obtain credit or more favorable terms for a supply of services, engaging in

discussions with its landlords to obtain various forms of rent relief and pursuing negotiations

with certain parties in connection with the sale of equity in the Debtors.

            27.      The Debtors and American Greetings worked cooperatively          to   address the

operational and financial issues facing the Debtors and find a mutually beneficial path forward.

In early       2019, the Company's management approached American Greetings           to address the

receivable owing to American Greetings and provide greater security on a go forward basis. To

that end, pursuant to the Junior Security Agreement, the Debtors agreed to give security to

American Greetings in the property of the Debtors, which security was to rank subordinate to the

security held by the Senior Lenders.

            28.      During fall 2019, the Debtors also actively engaged with potential strategic

partners to sell and/or re-capitalize the Debtors balance sheet. However, before the Debtors were

able to consummate a transaction or otherwise identiff a viable path forward, on December 5,


{   r270.001-w00s9ó86.6}                         10
                      Case 20-10134-JTD      Doc 3    Filed 01/23/20      Page 11 of 18




20T9,American Greetings notified the Debtors that it was immediately terminating the American

Greetings Agreements, subject to a cure period, purportedly on the basis that the Debtors were in

default under those agreements. American Greetings ceased providing product to the Debtors at

the same time, which had an immediate negative impact on the Debtors' business operations.

             29. In the days and weeks following the December              5, 2019 termination of   the

American Greetings Agreements, the Debtors, with the assistance of its financial and legal

advisors, engaged in discussions with American Greetings in an attempt to address the concerns

raised by American Greetings and cure the alleged defaults under the American Greetings

Agreements. Despite the best efforts of the Debtors' management and advisors, the discussions

with American Greetings failed to lead to an executable out-of-court transaction.

             30.       The termination of the American Greetings Agreements by American Greetings

constituted events of default under the Senior Loan Agreement. As a result, the Senior Lenders

have the right to cease making any advances and to cease issuing any additional letters of credit

to the Debtors, to demand immediate payment of all outstanding obligations under the Senior

Loan Agreement and to exercise the rights and remedies available to the Senior Lenders,

including foreclosure upon any collateral securing the outstanding obligations. While the Senior

Lenders have not chosen to exercise any of these rights or remedies, it has expressly reserved all

rights and remedies under the Senior Loan Agreement.

             31.       Ultimately, following its evaluation   of all   available options, the Company

determined that hling for Chapter I 1 protection, utilizing cash collateral (with the consent of the

Senior Agent, Senior Lenders and American Greetings, in its capacity as Subordinated Creditor)

and pursuing an orderly liquidation of its assets in a controlled, court-supervised environment

(the "Liquidation") is the best available option to maximize value for the Company and its




{ 1270.001   -w00s9686.6}                        11
                       Case 20-10134-JTD         Doc 3    Filed 01/23/20     Page 12 of 18




stakeholders. The Debtors believe that the Chapter 11 process, including the proposed

Liquidation, consisting of substantially all of their assets, will provide the greatest recovery for

their creditors.

GOB Liquidation and Cash Collateral

              32.      Prior to the Petition Date, the Debtors solicited bids from four (4) leading national

liquidation firms. To initiate the closing of Debtors' store locations in the United States (the

"Slelg_Çlo¡igg!"), the Debtors entered into the consultant agreement dated as of January 17,

2020, (the "Consulting          Agree      ") by and between the Debtors (the "Merchant"), and a joint

venture with Gordon Brothers Retail Partners, LLC and Hilco Merchant Resources, LLC

(together, the "Consultant"). The Debtors intend to utilize the services of the Consultant to

liquidate all of their remaining inventory and close all of their stores.

              33.      The Debtors believe,     in the exercise of their business judgment, that the
Liquidation will provide the best process under the circumstances to maximize value for all of

their stakeholders. Indeed, given that the Debtors have limited financing options other than

utilizing Cash Collateral (described below), the only alternative to selling the Company's            assets


in the Liquidation would be conversion to Chapter 7            and a trustee conducted   liquidation. In the

Debtors' business judgment, a Chapter 7 trustee conducted liquidation would be exceedingly

value destructive, as the Debtors would immediately lose a significant portion of the potential

retail value of its assets, over a thousand jobs would be immediately eliminated and assets would

be monetized for only marginal, wholesale amounts.

              34.      In order to ensure that they have sufficient funds to maintain the stability of their

businesses throughout the completion of the proposed Liquidation, the Debtors              will utilize   cash

collateral, having obtained consent from the Senior Lenders and American Greetings to utilize




{ l 270.001   -w0059686.6}                           t2
                     Case 20-10134-JTD        Doc 3      Filed 01/23/20        Page 13 of 18



                                                                           as set forth in the Cash
their cash collateral during the chapter 11 Cases (the "Cash Collateral"),
                                                                     judgment, the Debtors have
Collateral Motion (defined below). In the exercise of their business

determined that Cash Collateral           is the best, and only,      means     of   financing the proposed

                                                                          they require to operate
Liquidation and that Cash Collateral will provide them with the liquidity

in these Chapter I I Cases.

                                                      ilL
                             PROPOSED COURSE OF THE CHAPTER 11 CASES
                                                                                              value
            35.       The Debtors intend to pursue the Liquidation in order to obtain maximum

for their      assets    for the benefit of all of their stakeholders, including their employees          and

                                                                                       liquidity to
creditors. Consensual use of Cash Collateral will provide the Debtors with suff,rcient

operate during the Liquidation process,            with fevenue from the going-out-of-business           sales


projected to be sufficient to support continued operations and the administrative expenses
                                                                                           of

                                                                         Lenders under the
these Chapter 11 Cases, as well as reduce the balance owed to the Senior

                                                                           Arrangement
 Senior Loan Agreement. Contemporaneously herewith, a Companies' Creditors

 Act (..CCAA,') proceeding has been commenced in               Canada relating       to the Debtors' Canadian

 subsidiary, SÞ-P Canada.

             36.       In order to achieve their goals in Chapter   ll,   the Debtors seek the relief set forth

 in the First Day Motions, as defined and summarized below'

                                                         IV.

                             F'ACTS IN SIIPPORT Of,''          ST DAY             DING52

             37.       To minimi ze the adverse effects of the commencement of these Chapter l1 Cases

 on the Debtors' ability to effectuate a timely and efficient Chapter 11 Liquidation that will


 z Capiølized terms not defined within this Section IV shall have the meaning ascribed to such terms in the
 respective First Day Motions



 {   l27o.o0l -w00s9686.6}                          13
                       Case 20-10134-JTD             Doc 3    Filed 01/23/20     Page 14 of 18




maximize the value of the Debtors' estates, the Debtors have f,rled the following motions (the

"EirsI_DAy l\4e1ious")

                        a    Motion of the Debtors for Entry of an Order Directing Joint Administration of
                             Related Chapter l l Cases;

                        o    Debtors' Application for Authorization to Employ and Retain Omni Agent
                             Solutions as Claims and Noticing Agent Effective Nunc Pro Tunc to the
                             Petition Date;

                        o    Motion of the Debtors for Entry of Interim and Final Orders (A) Authorizing
                             the Maintenance of Bank Accounts and Continued Use of Existing Business
                             Forms and Checks, (B) Authorizing the Continued Use of Existing Cash
                             Management System and (C) Granting Limited Relief from the Requirements
                             of Bankruptcy Code Section 345(b) and the United States Trustee Operating
                             Guidelines;

                        a    Motion for Entry of Interim and                Authorizing the Debtors to Pay
                                                                 Þ-inal Orders
                                           'Wages,
                             Prepetition             Compensation, Employee Benefits and Other Associated
                             Obligations;

                        o    Motion of the Debtors for Entry of Interim and Final Orders (A) Prohibiting
                             Utilities from Altering, Refusing or Discontinuing Service, (B) Deeming
                             Utilities Adequately Assured of Future Performance and (C) Establishing
                             Procedures for Determining Adequate Assurance of Payment;

                        a    Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to
                             Pay Certain Prepetition Tax and Fee Obligations and (II) Authorizing
                             Financial Institutions to Honor and Process Related Checks and Transfers;

                             Motion of the Debtors for Interim and Final Orders Authorizing the Debtors to
                             (I) Maintain Existing Insurance Policies and Pay All Policy Premiums Arising
                             Thereunder and Renew or Enter into New Policies and (II) Continue
                             Insurance Premium F'inancing Programs, Pay Insurance Premium Financing
                             Obligations Arising in Connection Therewith and Renew or Enter into New
                             Premium Financing Arrangements;

                        a    Motion   of the Debtors Seeking Entry of Interim and Final Orders
                             (I) Authorizing the Debtors to Maintain and Administer Their Existing
                             Customer Programs and Honor Certain Prepetition Obligations Related
                             Thereto and (II) Granting Related Relief;

                        a    Debtors' Motion for Interim and Final Orders (I) Authorizing Use of Cash
                             Collateral; (II) Modifuing the Automatic Stay; and (III) Granting Related
                             Relief;


{ r 270.001   -w00s9686.6}                               l4
                      Case 20-10134-JTD         Doc 3    Filed 01/23/20       Page 15 of 18




                      o    Debtors' Motion for Entry of Interim and Þ'inal Orders (I) Authorizing the
                           Debtors to Assume the Consultant Agreement, (II) Approving Procedures for
                           Store Closing Sales, (III) Approving the Implementation of Customary Store
                           Bonus Program and Payments to Non-Insiders Thereunder, and (IV) Granting
                           Related Relief; and

                      ¡    Motion of the Debtors for Entry of an Order Authorizing Debtors to           Pay
                           Certain Prepetition Shipper and Common Carrier Obligations.

            38.       I have reviewed each of the First Day Motions, including any exhibits thereto, and

the statements and facts set forth in each of the First Day Motions are true and correct to the best

of my knowledge. I hereby incorporate by reference each of the factual statements set forth in

the First Day Motions. These First Day Motions seek authority to, among other things, obtain

authority to use cash collateral on an interim basis, honor employee-related wages and benefit

obligations and ensure the continuation of the Debtors' cash management systems and other

business operations without intemrption.            I believe    that the relief requested in the First Day

Motions is necessary to prevent ineparable harm and to give the Debtors an opportunity to work

towards successful chapter I I cases that will benefit all of the Debtors' stakeholders.

             39.      Several   of   these motions request authority    to pay certain prepetition   claims.

I understand that rule 6003 of the          F-ederal Rules   of Bankruptcy Procedure provides, in relevant

part, that the Court shall not consider motions to pay prepetition claims during the first twenty-

one (21) days following the filing of a chapter 11 petition, "[e]xcept to the extent that relief is

necessary       to avoid immediate and irreparable harm." In light of this requirement, the Debtors

have narrowly tailored their requests for immediate authority to pay certain prepetition claims to

those circumstances where the failure to pay such claims would cause immediate and irreparable

harm to the Debtors and their estates. Other relief            will be defened for   consideration at a later

hearing.




{   1270.001-w00s9686.6}                            15
                     Case 20-10134-JTD        Doc 3         Filed 01/23/20     Page 16 of 18




            40.      In sum, I believe that the relief sought in each Þ-irst Day Motion: (a) is necessary

to enable the Debtors to operate in chapter         I   I   with minimal disruption or loss of value; (b) is

necessary to provide the Debtors with a reasonable opportunity                for a successful Liquidation;

(c) is necessary to avoid immediate and irreparable harm; and (d) best serves the interests of the

Debtors' stakeholders.

                                              DECLARATION

            41.      Pursuant to section 1746 of title 28 of the United States Code,        I declare under
penalty of perjury that the foregoing is true and conect.

                                          RELIEF REOUESTED

            42. I respectfully request that the Court grant all relief requested in the First Day
Pleadings and such other and further relief as may be just and proper.

Dated: January 23,2020                                          SFP Franchise Corporation
                                                                Schurman Fine Papers

                                                                lsl Craig M. Boucher
                                                                Craig M. Boucher
                                                                Co-Chief Restructuring Offi cer




{   1270.001-w00s9686.6}                           t6
                    Case 20-10134-JTD   Doc 3   Filed 01/23/20   Page 17 of 18




                                    EXHIBIT A




{   1270.001-w00s9686.6}
                                             Case 20-10134-JTD             Doc 3      Filed 01/23/20        Page 18 of 18




                      SFP Franchise Corporation and Schurman Fine Papersl
                                                               Cornorate Structure




                                                                                                                   SFP Canada               LTI)
                                                                                                                   Canadian Corporation




1
    Concurrent to these Chapter   l1   Cases, a separate proceeding in Canada under the CCAA is proceeding for the Debtors' Canadian affiliate.
